                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

 IN RE:

 Jeffrey Scott Allen,                                          CHAPTER 13
 SSN: xxx-xx-6281,
                                                               CASE NO.: 18-82459-CRJ-13

          Debtor.

                    DEBTORS’ NOTICE TO CONVERT CASE TO CHAPTER 7

        The Debtor, pursuant to 11 U.S.C. § 1307(a), hereby elects to convert the above-styled
 case under Chapter 7 of the Bankruptcy Code. The Debtor is entitled to convert his case as:

          1. Debtor’s original case, 18-82459, filed on August 20, 2018 is a case under Chapter 13
             of the Bankruptcy Code.

          2. The Debtor, Jeffrey Scott Allen, is eligible to be a debtor under Chapter 7 of the
             Bankruptcy Code.

          3. The Debtor does not have any changes to his Statement of Financial Affairs or
             Schedules. Debtor is submitting his changes to the Compensation Statement of
             Attorney for Debtors, Statement of Intention, and Form 22A Means Test in support of
             this conversion.

                                                       Respectfully submitted,

                                                       /s/ Melissa W. Larsen
                                                       Attorney for Debtor

 OF COUNSEL:
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                                   CERTIFICATE OF SERVICE

         I do hereby certify that I have served a copy of the foregoing on Michele Hatcher, Chapter 13
 Trustee, electronically on this the 1st day of November, 2018.

                                                       /s/ Melissa W. Larsen
                                                       OF COUNSEL




Case 18-82459-CRJ13         Doc 30    Filed 11/01/18 Entered 11/01/18 13:33:45              Desc Main
                                     Document     Page 1 of 1
